Case 2:21-cv-00341-AWA-RJK Document 148 Filed 08/31/23 Page 1 of 1 PageID# 1757




                              UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division




 WAYNE B. LYNCH,
 Administrator of the Estate of Donovon W. Lynch,
 Deceased,

                        Plaintiff,

 V.                                                                 Action No. 2:21cv341


 SOLOMON D. SIMMONS. Ill, et al.,

                        Defendants.



                                            ORDER


          This matter is before the Court on the motion for approval of settlement. ECF No. 116.

 The Court will hold a hearing on this motion at 9:30 a.m. on September 7, 2023, at the United

 States District Court for the Eastern District of Virginia, 600 Granby Street, Norfolk, Virginia

 23510.


          The Clerk is DIRECTED to forward copies of this order to all current and past counsel of

 record, and to Lauryn Lynch at the address provided to the Court during the hearing held August

 9, 2023.




                                                                RoberM. Krask
                                                   UNITED STATES MAGISTRATE .lUDGE


 Norfolk, Virginia
 August 30, 2023
